                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 BARBRA COLLINS, ET AL.,                          )
                                                  )
        Plaintiffs,                               )
                                                  )
 v.                                               )     NO. 3:22-cv-00225
                                                  )
 STATE OF TENNESSEE, ET AL.,                      )     JUDGE RICHARDSON
                                                  )
        Defendants.                               )


                                             ORDER

       This case is REFERRED to the Magistrate Judge for customized case management in

accordance with Local Rule 16.01 and 28 U.S.C. § 636(b)(1)(A).

       The parties shall be prepared to engage in a discussion with the Magistrate Judge during

the initial case management conference concerning: (1) the substantive factual and legal issues

presented, either on or off the record as the Magistrate Judge determines, such that the parties and

the Magistrate Judge can have a realistic discussion of the progression of this case and possible

issues preventing settlement; and (2) whether any early dispositive motions are anticipated and

whether amendments may eliminate the need for such motions. Counsel for the parties are

expected to have reviewed the undersigned’s Practice and Procedure Manual and to pattern the

proposed Initial Case Management Order after the sample Initial Case Management Order for the

undersigned provided on the Court’s website.          The parties are encouraged to consider the

Alternative Dispute Resolution options provided in Local Rule 16.02 through 16.05.

       This case shall be set for trial upon completion of the initial case management conference

by order of the District Court in accordance with the procedures of Local Rule 16.01.




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 IT IS SO ORDERED.


                               ____________________________________
                               ELI RICHARDSON
                               UNITED STATES DISTRICT JUDGE




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